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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  SCALE BIOSCIENCES, INC.,

                 and

  ROCHE SEQUENCING SOLUTIONS, INC.,

                 Plaintiffs,
                                                      Civil Action No. 1:22-CV-01597-CJB
  v.

  PARSE BIOSCIENCES, INC.,

                 Defendant.

  PARSE BIOSCIENCES, INC.,

                  and

  UNIVERSITY OF WASHINGTON,

                 Counterclaim Plaintiffs
  v.

  SCALE BIOSCIENCES, INC.,

                 Counterclaim Defendant.


         PLAINTIFF SCALE BIOSCIENCES, INC.’S CONCISE STATEMENT OF
         UNDISPUTED FACTS IN SUPPORT OF ITS MOTION FOR SUMMARY
         JUDGMENT REGARDING VALIDITY OF U.S. PATENT NO. 11,634,752

        Pursuant to paragraph 17(c) of the Amended Scheduling Order (D.I. 52), Plaintiff Scale

 Biosciences, Inc. (“ScaleBio”) hereby provides the following Concise Statement of Undisputed

 Facts in Support of its Motion for Summary Judgment Regarding Validity of U.S. Patent No.

 11,634,752, filed herewith. All cited exhibits are identified in the declarations of Dr. Peter Sims

 (“Sims Dec.”) and attorney Emma Frank (“Frank Dec.”), also filed herewith.




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        B1.     Parse has challenged claims 1-3, 6-11 and 14 of the ‘’752 Patent (the “Asserted

 ’752 Claims”) as anticipated by three patent applications that that were published in 2009 or

 earlier: (i) US 2006/0177833 A1 by Brenner, published August 10, 2006 (“Brenner”) (Ex. 15);

 (ii) US 2009/0264300 A1 by Franch et al., published Oct. 22, 2009 (“Franch”) (Ex. 16); and US

 2006/0099592 A1 by Freskgard et al., published May 11, 2006 (“Freskgard”) (Ex. 17).

        B2.     Brenner discloses “split-pool barcoding of genomes from different individuals

 where the genomic fragments, e.g., target molecules, from one individual received the same set

 of tags.” Ex. 11 (Pachter Reply Rep.) ¶ 247 (emphasis added).

        B3.     The tags of Brenner do not distinguish between nucleic acids from one cell and

 nucleic acids from another cell from the same individual. Ex. 18 (Pachter Depo. Tr.) 65:7-18;

 66:14-22; 67:1-6.

        B4.     Brenner does not disclose tags (oligonucleotides) that provide a code that

 indicates the cell or organelle of origin. Ex. 13 (Sims Reb. Rep.) ¶¶ 665-667 & 675.

        B5.     Brenner expressly states: “each individual is associated with a single unique

 oligonucleotide tag.” Ex. 15 (Brenner) ¶ [007] (emphasis added).

        B6.     Franch discloses “split-and-mix synthesis of different molecules each linked to a

 single-stranded identifier oligonucleotide comprising a plurality of tags identifying the

 molecule.” Ex. 9 (Pachter Op. Rep.) ¶ 340 (quoting Franch ¶ [0002]).

        B7.     The terms “split-and-mix” and “split-pool” are interchangeable in the context of

 Franch. See Ex. 11 (Pachter Reply Rep.) ¶ 203 (describing Franch as disclosing “split-pool

 barcoding”).

        B8.     Franch generates “barcoded small molecules [that] can be screened against

 targets, which can include cell-surface molecules.” Ex. 11 (Pachter Reply Rep.) ¶ 203.



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          B9.    The barcode of Franch identifies “the small molecule that has been synthesized,”

 Ex. 18 (Pachter Depo. Tr.) 112:11-13.

          B10.   Franch’s barcoded compounds “do not originate in cells, even though they may

 later be used to screen cells after they have been synthesized.” Ex. 18 (Pachter Depo. Tr.)

 116:19-117:5; 113:16-20.

          B11.   Freskgard discloses “split-pool barcoding [of] small molecules” and that “those

 barcoded small molecules can be screened against targets, which can include target molecules in

 or on cells.” Ex. 11 (Pachter Reply Rep.) ¶ 224.

          B12.   The barcoded small molecules of Freskgard do not originate in cells, Ex. 18

 (Pachter Depo. Tr.) 130:8-13, and do not originate in cell organelles. Id., 131:22-17; 131:18-

 132:7.

          B13.   Because Freskgard does not barcode molecules that are “in or on cells or cell

 organelles” there is no “cell or organelle of origin” to identify. Ex. 13 (Sims Reb. Rep.) ¶ 651.

          B14.   Nolan 2012 provides a supporting written description for the preamble of claim 1

 of the ’752 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 483-485; Ex. 49 (Nolan 2012) ¶¶ [0014], [0015],

 [0016], [00250].

          B15.   Nolan 2012 provides a supporting written description for element (i) of claim 1 of

 the ’752 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 486-489; Ex. 49 (Nolan 2012) ¶¶ [0014], [0015],

 [0016], [0017], [0021], [0025], [00114] & Fig. 7.

          B16.   Nolan 2012 provides a supporting written description for element (ii) of claim 1

 of the ’752 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 490-491; Ex. 49 (Nolan 2012) ¶¶ [0013], [0017],

 [00112] & Fig. 7.




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           B17.   Nolan 2012 provides a supporting written description for the wherein limitation of

 claim 1 of the ’752 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 492-493; Ex. 49 (Nolan 2012) ¶¶ [0010],

 [0014], [0017], [00112] & Figs. 7 & 8.

           B18.   Nolan 2012 provides a supporting written description for claims 2 and 9 of the

 ’752 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 505-507 & 526-528; Ex. 49 (Nolan 2012) ¶¶ [00111],

 [00164], [00212] & Fig. 4.

           B19.   Nolan 2012 provides a supporting written description for claim 6 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 511-513; Ex. 49 (Nolan 2012) ¶¶ [00115], [00272], [00278].

           B20.    Nolan 2012 provides a supporting written description for claim 7 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 514-516; Ex. 49 (Nolan 2012) ¶¶ [00103], [00104].

           B21.   Nolan 2012 provides a supporting written description for claim 8 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 517-525; Ex. 49 (Nolan 2012) ¶¶ [0010], [0013], [0014],

 [0015], [0016], [0017], [0021], [0025], [00114], [00115], [00250], [00272], [00278], [00112] &

 Figs. 7 & 8.

           B22.   Nolan 2012 provides a supporting written description for claim 10 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 529-531; Ex. 49 (Nolan 2012) ¶¶ [0010], [0014], [0017],

 [00112] & Figs.7& 8.

           B23.   Nolan 2012 provides a supporting written description for claim 11 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 532-534; Ex. 49 (Nolan 2012) ¶¶ [00276], [00282].

           B24.   Nolan 2012 provides a supporting written description for claim 14 of the ’752

 Patent. Ex. 13 (Sims Reb. Rep.) ¶¶ 535-537; Ex. 49 (Nolan 2012) ¶¶ [0014], [0015], [0016],

 [0017].




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        B25.    As of January 31, 2012, the design and synthesis of oligonucleotides was a well-

 known laboratory technique. Ex. 13 (Sims Reb. Rep.) ¶¶ 267-268.

        B26.    Nolan 2012 explains how to make oligonucleotides of desired sequence using a

 commercial DNA Synthesizer. Ex. 13 (Sims Reb. Rep.) ¶¶ 267-268.

        B27.    As of January 31, 2012, a POSA would be familiar with multi-well plates as a

 common piece of laboratory equipment. Ex. 13 (Sims Reb. Rep.) ¶¶ 274-275.

        B28.    As of January 31, 2012, a POSA would have known how to make

 oligonucleotides that include a random sequence between the 3’ and 5’ end sequences as an

 aspect of established techniques of oligonucleotide design and synthesis. Ex. 13 (Sims Reb.

 Rep.) ¶¶ 276-277.

        B29.    As of January 31, 2012, a POSA would have known how to make

 oligonucleotides with an affinity tag as an aspect of established techniques of oligonucleotide

 design and synthesis. Ex. 13 (Sims Reb. Rep.) ¶¶ 278-279.

        B30.    As of January 31, 2012, hybridization of oligonucleotides was a well-known

 technique. Ex. 13 (Sims Reb. Rep) ¶ 288.

        B31.    As of January 31, 2012, making more than 10 oligonucleotides would have been

 within the knowledge of a POSA. Ex. 13 (Sims Reb. Rep.) ¶ 290.

        B32.    The ’752 Patent issued from Application No. 17/951,003, filed on September 22,

 2022 as a continuation of Application No. 17/870,641. Ex. 54 (’752 FH) at

 SCALEBIO0013232; Ex. 4 (’752 Patent) (cover page).

        B33.    Application No. 17/870,641 was filed on July 21, 2022 as a continuation of

 Application No. 16/795,203 and issued on November 29, 2022 as the ’341 Patent. Ex. 52 (’341

 FH) at SCALEBIO0006058; Ex. 3 (’341 Patent) (cover page).



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        B34.   Application No. 16/795,203 was filed on February 19, 2020 as a continuation of

 Application No. 16/147,250 and was abandoned on July 26, 2022 by failure to respond to an

 Office Action mailed on April 26, 2022. Ex. 53 (’203 FH) at SCALEBIO0010953,

 SCALEBIO0011065-66, SCALEBIO0011083-84.

        B35.   Application No. 16/147,250 was filed on September 28, 2018 as a continuation of

 Application No. 13/981,711 and issued on April 20, 2021 as the ’256 Patent. Ex. 51 (’256 FH)

 at SCALEBIO0000145; Ex. 2 (’256 Patent) (cover page).

        B36.   Application No. 13/981,711 was filed on April 15, 2016 as the U.S. national

 phase of PCT/US2012/023411 and issued on December 4, 2018 as U.S. Patent No. 10,144,950.

 Ex. 55 (’950 FH) at SCALEBIO0010795; Ex. 43 (’950 Patent) (cover page).

        B37.   PCT/US2012/023411 was filed on January 31, 2012 and was published as

 International Publication No. WO 2012/106385 A2 (“Nolan 2012’). Ex. 50 (’411 PCT FH) at

 SCALEBIO0011464, SCALEBIO0011501; Ex. 49 (Nolan 2012) (cover page).

        B38.   Each of the patents and applications identified in B32-B37 names a common

 inventor, Garry P. Nolan. Ex. 54 (’752 FH) at SCALEBIO0013232; Ex. 52 (’341 FH) at

 SCALEBIO0006058; Ex. 53 (’203 FH) at SCALEBIO0010953; Ex. 51 (’256 FH) at

 SCALEBIO0000145; Ex. 55 (’950 FH) at SCALEBIO0010795; Ex. 49 (Nolan 2012).

        B39.   The patents and applications identified in B32-37 have identical disclosures. Ex.

 13 (Sims Reb. Rep.) ¶ 296.

        B40.   The Seelig Application was published on May 19, 2016 and has an asserted

 priority date no earlier than November 14, 2014. Ex. 19 (Seelig. App.) (cover page).




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                                        /s/ Sara M. Metzler
 OF COUNSEL:                            Kelly E. Farnan (#4395)
                                        Sara M. Metzler (#6509)
 Stephen S. Rabinowitz                  RICHARDS, LAYTON, & FINGER, P.A.
 srabinowitz@wolfgreenfield.com         920 North King Street
 WOLF, GREENFIELD, & SACKS, P.C.        One Rodney Square
 605 Third Avenue                       Wilmington, DE 19801
 New York, NY 10158                     302-651-7700
 212.697.7890                           farnan@rlf.com
                                        metzler@rlf.com
 Chelsea A. Loughran
 cloughran@wolfgreenfield.com           Counsel for Plaintiff Scale Biosciences, Inc.
 Stuart V.C. Duncan Smith
 sduncansmith@wolfgreenfield.com        Dated: February 24, 2025
 Emma L. Frank
 efrank@wolfgreenfield.com
 Arden E. Bonzo
 abonzo@wolfgreenfield.com
 WOLF, GREENFIELD, & SACKS, P.C.
 600 Atlantic Avenue
 Boston, MA 02210
 617.646.8000




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